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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                             CRIMINAL ACTION


VERSUS                                               NO: 13-184


CHRISTOPHER JOSEPH                                   SECTION: “J” (2)



                            ORDER AND REASONS

       Before the Court are a Motion to Vacate, Set Aside, or Correct

Sentence Pursuant to 28 U.S.C. § 2255 by a Person in Federal

Custody (Rec. Doc. 241) filed by Petitioner Christopher Joseph

(“Petitioner”) and an opposition thereto (Rec. Doc. 247) filed by

the United States of America (“Government”). Having considered the

motion and legal memoranda, the record, and the applicable law,

the Court finds that Petitioner’s motion should DENIED.

                    FACTS AND PROCEDURAL BACKGROUND

    On August 22, 2013, a federal grand jury charged Petitioner

Christopher Joseph with possession of a firearm by a convicted

felon. (Rec. Doc. 8.) On October 18, 2013, a grand jury returned

a    superseding    indictment    against       Petitioner     and    five    co-

defendants. (Rec. Doc. 16.) The superseding indictment charged

Petitioner with conspiracy to distribute five kilograms or more of

cocaine hydrochloride (Count 1), distribution of 500 grams or more



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of cocaine hydrochloride (Count 2), and possession of a firearm by

a convicted felon (Count 4).

  On July 16, 2014, Petitioner pleaded guilty to Count 1 of the

superseding indictment. (Rec. Doc. 105). Pursuant to a written,

signed plea agreement, Petitioner acknowledged that he understood

the   maximum   penalties   he   faced.   Id.   at   1.   According    to   the

agreement, Petitioner understood that he was subject to a minimum

sentence of twenty years’ imprisonment and a maximum sentence of

life imprisonment. Id. at 1. The agreement also provided that

Petitioner agreed to waive any right to challenge his sentence

collaterally,     unless    he    established     that    the    ineffective

assistance of counsel “directly affected the validity of this

waiver of appeal and collateral challenge rights or the validity

of the guilty plea itself.” Id. at 3. In return, the Government

stipulated that it would file a bill of information under Title

21, United States Code, section 851, alleging only one prior felony

drug conviction. Id. at 1. Otherwise, the Government indicated

that Petitioner would face a mandatory life sentence pursuant to

Title 21, United States Code, sections 841(b)(1)(A) and 851. Id.

  At Petitioner’s rearraignment, the Court accepted his guilty

plea conditionally “in light of the waiver of appellate rights” in

the plea agreement. (Rec. Doc. 102.) The Court sentenced Petitioner

on October 22, 2014. (Rec. Doc. 159.) Petitioner was represented

by Jason Williams. Id. Mr. Williams objected to the drug offense

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level calculation and a four-level leadership role enhancement.

(Rec. Doc. 177, at 3.) The Court granted the former objection and

denied the latter. Id. at 4. After doing so, the Court confirmed

that Petitioner wished to pursue his guilty plea. Id. at 5. Despite

the Government’s indication in the plea agreement that it would

file an 851 bill, it did not do so. Thus, the Court accepted

Petitioner’s guilty plea and sentenced him to 235 months of

imprisonment, a sentence below the minimum of 240 months contained

in the plea agreement. (Rec. Doc. 159.) The Court also sentenced

Petitioner to a ten-year term of supervised release. Id.

  Petitioner filed a notice of appeal on October 27, 2014. (Rec.

Doc. 163.) While the appeal was pending, the parties filed a joint

motion to amend Petitioner’s supervised release sentence. (Rec.

Doc. 216.) The Court granted the motion and scheduled Petitioner

for re-sentencing. (Rec. Doc. 217.) Before the re-sentencing date,

Petitioner filed a section 2255 motion. (Rec. Doc. 219.) Due to

the   pending   appeal,   the   Court    dismissed   the   motion     without

prejudice. (Rec. Doc. 223.)

  Petitioner appeared before the Court for re-sentencing on August

26, 2015, represented by Alysson Mills. (Rec. Doc. 224.) The Court

again addressed Petitioner’s objections to the presentence report,

granting the drug offense level calculation objection and denying

the leadership enhancement objection. (Rec. Doc. 230, at 3.)

Petitioner confirmed that he wished to go forward with his plea.

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Id. at 5. Accordingly, the Court sentenced him to 235 months of

imprisonment and five years of supervised release. (Rec. Doc. 225.)

  Petitioner filed an amended notice of appeal on September 9,

2015. (Rec. Doc. 228.) On February 1, 2016, the Fifth Circuit

dismissed Petitioner’s appeals as frivolous. (Rec. Doc. 240.)

Subsequently, Petitioner filed the instant motion, acting pro se.

(Rec. Doc. 241.) The Government filed a response to the motion on

May 16, 2016. (Rec. Doc. 247.)

                                PARTIES’ ARGUMENTS

  Petitioner contends that he was denied effective assistance of

counsel prior to and at the time of sentencing. First, Petitioner

argues   that    his    counsel,    Jason   Williams,     failed      to   properly

investigate the case. Mr. Williams announced his decision to run

for public office shortly after undertaking representation of

Petitioner. Further, Petitioner claims that Mr. Williams did not

properly investigate the roles of Petitioner’s co-defendants.

According   to     Petitioner,     co-defendants      Charles       Herron,   Isaac

Thompson, and Andrew Brown were equally deserving of four-level

leadership enhancements.

  Second, Petitioner contends that Mr. Williams misadvised him on

the   applicable         sentencing    guideline      range.        Specifically,

Petitioner claims that one of Mr. Williams’ associates, Nicole

Burdell,    told       Petitioner’s    aunt    that   she    had      a    personal

relationship     with     the    prosecutor,      which   would      ensure    that

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Petitioner received a lenient sentence if he pleaded guilty.

Further, Petitioner alleges that he spoke to Mr. Williams after

his rearraignment, and Mr. Williams promised to oppose an 851 bill

and   ensure    that    Petitioner    received     a    ten-year     sentence.

Petitioner also claims that Mr. Williams promised him that he would

be confined to a prison camp rather than a federal penitentiary.

Lastly, Petitioner suggests that the presiding judge was confused

by the Government’s failure to file an 851 bill and believed that

Petitioner was subject to a 240-month mandatory minimum sentence.

  In its opposition, the Government first argued that Petitioner

waived all post-conviction remedies, including the right to bring

a section 2255 motion in his plea agreement. The Government

contends that Petitioner’s waiver of his rights was both knowing

and voluntary. At his rearraignment, Petitioner stated that he

signed the plea agreement and understood its terms.

  Second, the Government argues that Petitioner’s motion also

fails on the merits. The Government points out the Mr. Williams

objected   to   the    four-point   leadership    enhancement.      The   Court

overruled the objection, finding sufficient evidence to suggest

that Petitioner controlled and financed the drug conspiracy and

directed his co-defendants to transport drugs and drug proceeds.

The Government also notes that Petitioner did not withdraw his

plea of guilty at his original sentencing or his re-sentencing,

even after the Court denied his objection to the enhancement.

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Further, the Government argues that Petitioner’s plea agreement

clearly stated that he faced a minimum sentence of 240 months. At

his rearraignment, Petitioner also stated that no one had made any

promises that induced him to plead guilty. Moreover, at his

sentencing         hearing,   the     Court    informed    Petitioner       of    the

applicable guideline range of 235 to 293 months. Petitioner still

decided      to    plead   guilty.     Thus,   the   Government       argues     that

Petitioner cannot credibly argue that he believed he would receive

a sentence of 120 months.

                                    LEGAL STANDARD

     Section 2255 provides that a federal prisoner serving a court-

imposed sentence may move the court that imposed the sentence to

vacate, set aside or correct the sentence. 28 U.S.C. § 2255(a).

Only a narrow set of claims are cognizable on a section 2255

motion. The statute identifies four bases on which a motion may be

made: (1) the sentence was imposed in violation of the Constitution

or    laws    of    the    United    States;   (2)   the    court     was   without

jurisdiction to impose the sentence; (3) the sentence exceeds the

statutory maximum sentence; or (4) the sentence is “otherwise

subject to collateral attack.” Id. A claim of error that is neither

constitutional nor jurisdictional is not cognizable in a section

2255 proceeding unless the error constitutes “a fundamental defect

which inherently results in a complete miscarriage of justice.”



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United States v. Addonizio, 442 U.S. 178, 185 (1979) (quoting Hill

v. United States, 368 U.S. 424, 428 (1962)).

     When a section 2255 motion is filed, the district court must

first conduct a preliminary review. “If it plainly appears from

the    motion,    any   attached    exhibits,      and    the    record   of   prior

proceedings that the moving party is not entitled to relief, the

judge must dismiss the motion.” Rules Governing Section 2255

Proceedings, Rule 4(b). If the motion raises a non-frivolous claim

to relief, the court must order the government to file a response

or to take other appropriate action. Id. After reviewing the

government’s      answer,     any    transcripts     and        records   of   prior

proceedings, and any supplementary materials submitted by the

parties, the court must determine whether an evidentiary hearing

is warranted. Rules Governing Section 2255 Proceedings, Rule 8. An

evidentiary hearing must be held unless “the motion and the files

and records of the case conclusively show that the prisoner is

entitled to no relief.” 28 U.S.C. § 2255(b). No evidentiary hearing

is    required,    however,    if   the   prisoner       fails    to   produce    any

“independent indicia of the likely merit of [his] allegations.”

United States v. Edwards, 442 F.3d 258, 264 (5th Cir. 2006)

(quoting United States v. Cervantes, 132 F.3d 1106, 1110 (5th Cir.

1998)).




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                                    DISCUSSION

  First, the Government argues that Petitioner waived the right

to challenge his sentence collaterally. A defendant may waive his

right to direct appeal and collateral attack of a conviction and

sentence by means of a plea agreement, so long as the waiver is

both knowing and voluntary. See e.g. United States v. Bond, 414

F.3d   542,   544    (5th   Cir.    2005)    (holding    that   a    “knowing   and

voluntary” standard applies to a waiver of appeal); United States

v. McKinney, 406 F.3d 744, 746 (5th Cir. 2005) (“We apply normal

principles     of    contact       interpretation       when    construing      plea

agreements.”); United States v. White, 307 F.3d 336, 343 (5th Cir.

2002). A defendant knowingly enters a waiver when “the defendant

fully understands the nature of the right and how it would likely

apply in general in the circumstances—even though the defendant

may not know the specific detailed consequences of invoking it.”

United States v. Ruiz, 536 U.S. 622, 630 (2002). When a petition

does not allege, and the record contains no indication that

ratification    of    the    plea    agreement     was    not    “voluntary”        or

knowledgeable, the Court will hold the defendant to the bargain

that he made—the Court need not presume that the waiver was

ineffective. See Bond, 414 F.3d at 544 (citing McKinney, 406 F.3d

at 746); White, 307 F.3d at 343.

  Rule 11 of the Federal Rules of Criminal Procedure provides

procedural safeguards for assuring that guilty pleas are entered

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voluntarily and knowingly by requiring “a judge to address a

defendant about to enter a plea of guilty, to ensure that he

understands the law of his crime in relation to the facts of his

case, as well as his rights as a criminal defendant.” United States

v. Vonn, 535 U.S. 55, 62 (2002). However, a determination of

whether a defendant understands the consequences of his guilty

plea, including the waiver of his right to appeal, does not require

a trial court to determine that the defendant has a perfect

understanding of the consequences; the court must only ascertain

whether the defendant has a realistic or reasonable understanding

of his or her plea. See United States v. Gracia, 983 F.2d 625,

627-28 (5th Cir. 1993) (recognizing that one of the core concerns

behind Rule 11 is “a realistic understanding of the consequences

of a guilty plea”). Furthermore, “when the record of the Rule 11

hearing clearly indicates that a defendant has read and understands

his plea agreement, and that he raised no question regarding a

waiver-of-appeal provision, the defendant will be held to the

bargain to which he agreed, regardless of whether the court

specifically admonished him concerning the waiver of appeal.”

United States v. Portillo, 18 F.3d 290, 292-93 (5th Cir. 1994);

see Bond, 414 F.3d at 544; McKinney, 406 F.3d at 746.

  Even if a defendant waives his right to appeal and collaterally

attack his plea and sentence, he can avoid those waivers based on

ineffective assistance of counsel by showing that “the claimed

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assistance directly affected the validity of that waiver or the

plea itself.” White, 307 F.3d at 343. As such, “an ineffective

assistance of counsel argument survives a waiver of appeal only

when the claimed assistance directly affected the validity of that

waiver or the plea itself.” Id. Thus, when a defendant who has

plead   guilty   and   waived     his     post-conviction        challenge   and

appellate rights “claims ineffective assistance of counsel, but he

does not claim that the waiver in his plea agreement was unknowing

or involuntary . . . [courts] will . . .         hold him to his word and

affirm” the validity of the waiver. Id. at 344.

  A defendant who pleads guilty and waives his post-conviction

rights must know that he had “a right to appeal his sentence and

that he was giving up that right.” United States v. Portillo, 18

F.3d 290, 292 (5th Cir. 1994) (internal citations omitted).                   As

such, it is the district court's responsibility “to insure that

the defendant fully understands [his] right to appeal and the

consequences of waiving that right.” United States v. Gonzales,

259 F.3d 355, 357 (5th Cir. 2001) (internal quotations omitted).

However,   “if   a   petitioner   cannot     establish    that      ineffective

assistance of counsel rendered his plea unknowing or involuntary,

then his waiver bars him from challenging other stages of the

proceedings against him.” United States v. James, No. 05-059, 2007

WL 2323385, *6 (E.D. La. Aug. 10, 2007).



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  In this case, Petitioner failed to allege with any specificity

or clarity how the alleged ineffective assistance of counsel

affected the knowingness or voluntariness of his post-conviction

relief waiver. Petitioner claims that Mr. Williams failed to

properly investigate his role in the offense and misadvised him on

his expected sentence. However, Petitioner does not explain how

Mr. Williams’ shortcomings affected his waiver. The minute entry

from Petitioner’s rearraignment reveals that the Court conducted

a Rule 11 inquiry to determine whether Petitioner knowingly and

voluntarily       waived    his   rights.      (Rec.     Doc.   102.)    The    Court

conditionally adjudged Petitioner guilty due to the waiver of

appeal rights in the plea agreement. Id. The transcripts from both

sentencing hearings reflect that the Court informed Petitioner of

his limited right to appeal. (Rec. Doc. 177, at 9; Rec. Doc. 230,

at 9.) Petitioner did not object to the waiver at any point,

including    in    the     instant    motion.    Thus,    Petitioner     failed    to

demonstrate       that     Mr.    Williams’     ineffectiveness         as     counsel

invalidated the waiver of post-conviction rights in his plea

agreement.

  Additionally, Petitioner failed to show that Mr. Williams’

actions amounted to ineffective assistance of counsel. In a habeas

proceeding    alleging        ineffective       assistance      of   counsel,     the

petitioner has the burden of proof. United States v. Chavez, 193

F.3d 375, 378 (5th Cir. 1999) (citing Clark v. Collins, 19 F.3d

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959, 964 (5th Cir. 1994)). To prevail on a claim of ineffective

assistance of counsel, the petitioner must demonstrate that (1)

counsel’s performance was deficient, and (2) counsel’s deficient

performance prejudiced his defense. Strickland v. Washington, 466

U.S. 668, 687 (1984). To demonstrate deficient performance, the

petitioner must show that the errors made by counsel were “so

serious    that   counsel   was     not    functioning   as      the    ‘counsel’

guaranteed the defendant by the Sixth Amendment.” Id. at 687. To

satisfy the prejudice prong, the petitioner must show that “there

is a reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different.”

Id. at 694. “A reasonable probability is a probability sufficient

to undermine confidence in the outcome.” Id. This requires showing

that counsel’s errors were so serious that they rendered the

proceedings unfair or the result unreliable. Id. at 687. If the

petitioner makes an insufficient showing on either component of

the ineffective assistance of counsel inquiry, it is not necessary

to examine the remaining prong of the test. Id.

     Petitioner cannot demonstrate that Mr. Williams’ performance

was deficient or that any deficiency prejudiced his defense.

Petitioner claims that Mr. Williams’ campaign for public office

prevented him from adequately investigating Petitioner’s role in

the offense. However, Petitioner failed to introduce any evidence

to    support   this   conclusory   allegation.    Further,       Mr.    Williams

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objected to the four-point leadership enhancement at Petitioner’s

sentencing.      The    Court   overruled       the    objection,      finding     that

Petitioner       controlled     and    financed       the   drug    conspiracy      and

directed others to transport drugs and drug proceeds between

Louisiana and Texas. (Rec. Doc. 177, at 4.) These details also

appeared    in    the   Government’s      factual      basis,      which     Petitioner

signed and acknowledged at his rearraignment hearing. Thus, even

if Mr. Williams failed to properly investigate the conspiracy, his

failure did not prejudice Petitioner because Petitioner stipulated

that these facts were true by signing the factual basis. (Rec.

Doc. 106.)

  Further,       Petitioner      failed        to   prove    that      Mr.     Williams

misrepresented his sentence. Petitioner can only show that Mr.

Williams told him that he would face a ten-year minimum sentence

if the Government decided not to file an 851 bill. (Rec. Doc. 241,

at 20.) Even if Mr. Williams misadvised him, Petitioner cannot

show that he suffered prejudice. Petitioner had no reason to think

he would receive the minimum sentence as his plea agreement

stipulated that he would face a sentence of twenty years’ to life

imprisonment. (Rec. Doc. 105, at 1.) Further, Petitioner knew that

he faced a sentence of 235 months and that he could withdraw his

guilty plea at any time. At the sentencing hearing, the Court

announced    the    applicable        guideline     range,    which     indicated       a

sentence of 235 to 293 months of imprisonment. (Rec. Doc. 177, at

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5.) After confirming that Petitioner wished to persist in pleading

guilty, the Court sentenced him to 235 months, at the lower end of

the guideline range. Id. at 5-6. Thus, Petitioner failed to carry

his burden to demonstrate ineffective assistance of counsel.

                              CONCLUSION

     Accordingly,

     IT IS HEREBY ORDERED that Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 by a Person

in Federal Custody (Rec. Doc. 241) is DENIED.

     New Orleans, Louisiana this 17th day of June, 2016.




                                        ____________________________
                                        CARL J. BARBIER
                                        UNITED STATES DISTRICT JUDGE




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